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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE: 1:21-cv-23006-KMM



  CARLOS BRITO,

           Plaintiff,
  v.

  DISCOUNT AUTO PARTS, LLC,

          Defendant.
  ______________________________________/


                               JOINT NOTICE OF SETTLEMENT

  Plaintiff, CARLOS BRITO, and Defendant, DISCOUNT AUTO PARTS, LLC, hereby advise the

  Court that the parties have reached an agreement in principle to settle the instant case pending

  execution of a Settlement Agreement. The parties will file a Stipulation dismissing this Action

  with prejudice once the settlement agreement is executed, which they reasonably expect to do no

  later than fourteen (14) days from the date of this Notice. Accordingly, the Parties, respectfully

  request that the Court vacate all currently set dates and deadlines in the case.

  Respectfully submitted this 20th day of September, 2021.


   /s/ Anthony J. Perez                                 /s/ Alicia M. Chiu
   ANTHONY J. PEREZ                                     ALICIA M. CHIU
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   Attorney for Plaintiff Carlos Brito                  LLC



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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

  by using the CM/ECF system. I further certify a copy of the foregoing was sent by CM/ECF to

  all counsel of record on this 20th day of September, 2021.

                                                      Respectfully submitted,

                                                      GARCIA-MENOCAL & PEREZ, P.L.
                                                      Attorneys for Plaintiff
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                                                      By: /s/ Anthony J. Perez____
                                                          ANTHONY J. PEREZ




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